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                EXHIBIT A
       DETAILED STATEMENT OF FEES
    NOVEMBER 1, 2015 TO DECEMBER 31, 2015
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                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
                            Fees Sorted by Category for the Fee Period
                              November 01, 2015 - December 31, 2015

Date                            Description                                           Rate     Hours     Fees

Bankruptcy Tax Consulting
11/02/2015
   Bridenstine, Travis          Review information received to date related to       $705.00      1.0   $705.00
                                bankruptcy modeling and update information
                                document request to send to J. Novarro,
                                Quiksilver to gather all data to complete
                                bankruptcy modeling.

11/03/2015
   Bridenstine, Travis          Send updated information document request            $705.00      0.5   $352.50
                                regarding open items on bankruptcy tax modeling
                                to J. Novarro, Quiksilver.

11/04/2015
   Gerstel, Ken                 Review slides of Quiksilver tax bankruptcy           $795.00      1.2   $954.00
                                modeling ramifications to be presented to J.
                                Novarro, Quiksilver - possible tax effects of the
                                current bankruptcy plan on the Company.
11/05/2015
   Bridenstine, Travis          Discussion with J. Novarro, Quiksilver regarding     $705.00      1.0   $705.00
                                outstanding informationregarding bankruptcy tax
                                modeling and bankruptcy modeling/org chart.

11/10/2015
   Bridenstine, Travis          Discussion with K. Gerstel regarding preliminary     $705.00      0.7   $493.50
                                bankruptcy model results and approach going
                                forward.
   Bridenstine, Travis          Meeting with L. Crane to discuss intercompany        $705.00      1.2   $846.00
                                account balance reconciliation and inputs to
                                bankruptcy model to insure we have an accurate
                                view of the intercompany balances and effect on
                                the modeling for bankruptcy tax transaction.
   Crane, Leah                  Update org chart including Turnaround &              $398.00      2.4   $955.20
                                Restructuring (TRS) team's bankruptcy model.
   Crane, Leah                  Meeting with T. Bridenstine to discuss               $398.00      1.2   $477.60
                                intercompany account balance reconciliation and
                                inputs to bankruptcy model to insure we have an
                                accurate view of the intercompany balances and
                                effect on the modeling for bankruptcy tax
                                transaction.
   Gerstel, Ken                 Discussion with T. Bridenstine regarding             $795.00      0.7   $556.50
                                preliminary bankruptcy model results and
                                approach going forward.
11/11/2015
   Bridenstine, Travis          Perform revisions to org chart including             $705.00      1.3   $916.50
                                anticipated attribute reduction.
   Bridenstine, Travis          Read through new information provided by J.          $705.00      0.7   $493.50
                                Novarro, Quiksilver, for tax modeling bankruptcy
                                project.


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                                         Quiksilver, Inc.
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Date                            Description                                            Rate     Hours       Fees

Bankruptcy Tax Consulting
11/12/2015
   Bridenstine, Travis          Prepare intercompany summary including                $705.00      0.8    $564.00
                                hypothesis of the intercompay net balances to
                                determine effect on bankruptcy modeling.
   Bridenstine, Travis          Review tax basis balance sheets prepared by L.        $705.00      1.3    $916.50
                                Crane.
   Crane, Leah                  Update bankruptcy model for intercompany              $398.00      2.3    $915.40
                                account information to model affects on the tax
                                bankruptcy model.
11/13/2015
   Bridenstine, Travis          Review sample attribute reduction scenario in org     $705.00      1.4    $987.00
                                chart.
   Gerstel, Ken                 Review Quiksiver bankruptcy tax ramifications         $795.00      0.6    $477.00
                                while providing comments.
11/15/2015
   Bridenstine, Travis          Revise org chart for attribute reduction modeling.    $705.00      0.4    $282.00

11/16/2015
   Bridenstine, Travis          Prepare hypothesis of intercompany account            $705.00      0.6    $423.00
                                balance detail analysis for management validation
                                to assist in bankruptcy tax ramifications modeling.
   Bridenstine, Travis          Meeting with K. Gerstel and L. Crane to discuss       $705.00      1.6   $1,128.00
                                attribute reduction hypothesis and outstanding
                                information.
   Bridenstine, Travis          Discussion with J. Novarro, Quiksilver regarding      $705.00      0.3    $211.50
                                requested outstanding information relating to open
                                items list to finish bankruptcy modeling.
   Crane, Leah                  Update tax bankruptcy model for tax basis             $398.00      1.5    $597.00
                                attribute reduction hypotetical information
   Crane, Leah                  Meeting with K. Gerstel and T. Bridenstine to         $398.00      1.6    $636.80
                                discuss attribute reduction hypothesis and
                                outstanding information.
   Gerstel, Ken                 Review Quiksilver bankruptcy structure in             $795.00      1.2    $954.00
                                connection with modeling the tax ramifications to
                                the Company.
   Gerstel, Ken                 Meeting with T. Bridenstine and L. Crane to           $795.00      1.6   $1,272.00
                                discuss attribute reduction hypothesis and
                                outstanding information.
11/17/2015
   Bridenstine, Travis          Meeting with L. Crane and K. Gerstel to discuss       $705.00      1.8   $1,269.00
                                attribute reduction results and alternatives.
   Bridenstine, Travis          Perform comparison of interest deductions to          $705.00      0.7    $493.50
                                location of debt.
   Bridenstine, Travis          Read amended Plan of Reorganization (POR)             $705.00      1.3    $916.50
                                including preparation of summary schedule of
                                value and recovery.

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                                         Quiksilver, Inc.
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Date                            Description                                              Rate     Hours       Fees

Bankruptcy Tax Consulting
11/17/2015
   Crane, Leah                  Meeting with T. Bridenstine and K. Gerstel to           $398.00      1.8    $716.40
                                discuss attribute reduction results and alternatives.
   Crane, Leah                  Update bankruptcy model based on feedback from          $398.00      1.2    $477.60
                                T. Bridenstine and K. Gerstel.
   Gerstel, Ken                 Meeting with T. Bridenstine and K. Gerstel to           $795.00      1.8   $1,431.00
                                discuss attribute reduction results and alternatives.
   Gerstel, Ken                 Perform review of tax bankruptcy model results.         $795.00      1.4   $1,113.00

11/18/2015
   Bridenstine, Travis          Call with J. Novarro, Quiksilver, regarding             $705.00      0.6    $423.00
                                bankruptcy modeling information document
                                request and general timing discussion on finishing
                                the bankruptcy tax ramification modeling request.
   Bridenstine, Travis          Discussion with L. Crane regarding revisions to         $705.00      0.6    $423.00
                                org chart and entity history and timeline.
   Bridenstine, Travis          Call with K. Gerstel, L. Crane, Deloitte, and           $705.00      1.2    $846.00
                                valuation advisors (PJ Solomon) to review value
                                cascades in the plan and their effect on the tax
                                bankruptcy modeling to the Company.
   Crane, Leah                  Discussion with T. Bridenstine regarding revisions      $398.00      0.6    $238.80
                                to org chart and entity history and timeline.
   Crane, Leah                  Call with T. Bridenstine, K. Gerstel, Deloitte, and     $398.00      1.2    $477.60
                                valuation advisors (PJ Solomon) to review value
                                cascades in the plan.
   Crane, Leah                  Update bankruptcy model.                                $398.00      3.0   $1,194.00

   Gerstel, Ken                 Call with T. Bridenstine, L. Crane, Deloitte, and       $795.00      1.2    $954.00
                                valuation advisors (PJ Solomon) to review value
                                cascades in the plan and the effect on the tax
                                bankruptcy modeling to the Company.
   Gerstel, Ken                 Prepare for valuation call regarding review value       $795.00      0.5    $397.50
                                cascades in the plan to discuss the tax ramification
                                to the Company and model out possible results.

11/19/2015
   Bridenstine, Travis          Discussion with L. Crane regarding tax basis            $705.00      1.1    $775.50
                                balance sheets and tax basis in stock of
                                consolidated members.
   Bridenstine, Travis          Prepare attribute reduction scenario comparison.        $705.00      1.5   $1,057.50

   Crane, Leah                  Review tax basis balance sheets received from           $398.00      2.9   $1,154.20
                                client.
   Crane, Leah                  Discussion with T. Bridenstine regarding tax basis      $398.00      1.1    $437.80
                                balance sheets and tax basis in stock of
                                consolidated members.
   Gerstel, Ken                 Review bankruptcy case including tax                    $795.00      0.8    $636.00
                                ramification modeling.


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                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
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Date                            Description                                           Rate     Hours       Fees

Bankruptcy Tax Consulting
11/20/2015
   Bridenstine, Travis          Discussion with L. Crane regarding org chart and     $705.00      0.8    $564.00
                                attribute reduction presentation.
   Bridenstine, Travis          Coordinate client meeting for bankruptcy tax         $705.00      0.2    $141.00
                                modeling discussion with J. Novarro, Quiksilver.
   Crane, Leah                  Update bankruptcy model for tax basis balance        $398.00      0.2     $79.60
                                sheet and stock basis
   Crane, Leah                  Discussion with T. Bridenstine regarding org chart   $398.00      0.8    $318.40
                                and attribute reduction presentation.

11/23/2015
   Bridenstine, Travis          Coordinate client meeting for bankruptcy tax         $705.00      0.3    $211.50
                                modeling discussion with J. Novarro, Quiksilver.
   Bridenstine, Travis          Modify estimated stock basis and tax basis           $705.00      1.7   $1,198.50
                                balance sheet schedules during review.

11/24/2015
   Gerstel, Ken                 Gather information on the bankruptcy case cost       $795.00      1.1    $874.50
                                and the effect on the tax ramification model.
11/30/2015
   Bridenstine, Travis          Review and revise client presentation deck           $705.00      1.4    $987.00
                                regarding Quiksilver tax modeling ramifications.
   Bridenstine, Travis          Prepare alternative attribute reduction scenarios    $705.00      1.2    $846.00
                                for client presentation.
   Bridenstine, Travis          Meeting with K. Gerstel to discuss/revise client     $705.00      1.3    $916.50
                                presentation regarding tax modeling ramifications.
   Bridenstine, Travis          Document preliminary observations for client         $705.00      1.4    $987.00
                                presentation on bankruptcy tax ramifications
                                modeling.
   Bridenstine, Travis          Prepare Cancellation-of-Debt Income (COD)            $705.00      1.8   $1,269.00
                                income including attribute reduction slides for
                                client presentation.
   Crane, Leah                  Assemble slide deck on tax attributes and tax        $398.00      2.6   $1,034.80
                                implications of bankruptcy for client meeting.
                                Updating tax and stock basis in entity in slide
                                deck.
   Gerstel, Ken                 Revise client slides on bankruptcy tax matters.      $795.00      0.6    $477.00

   Gerstel, Ken                 Perform attribute reduction model evaluation.        $795.00      2.3   $1,828.50

   Gerstel, Ken                 Meeting with T. Bridenstine to discuss/revise        $795.00      1.3   $1,033.50
                                client presentation regarding tax modeling
                                ramifications.
12/01/2015
   Bridenstine, Travis          Meeting with J. Novarro, Quiksilver, to discuss      $705.00      2.1   $1,480.50
                                preliminary tax observations of bankruptcy
                                modeling.


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                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
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Date                            Description                                             Rate     Hours       Fees

Bankruptcy Tax Consulting
12/01/2015
   Crane, Leah                  Meet with J. Navarro, Quiksilver, to review slide      $398.00      5.0   $1,990.00
                                deck and explain options moving forward.
   Ecker, Scott                 Meeting with J. Novarro, Quiksilver, to discuss        $795.00      2.6   $2,067.00
                                preliminary analysis on bankruptcy and tax
                                ramifications.
   Gerstel, Ken                 Meeting with J. Novarro, Quiksilver, to discuss        $795.00      2.2   $1,749.00
                                preliminary analysis on bankruptcy and tax
                                ramifications.
   Gerstel, Ken                 Prepare for meeting with J. Novarro, Quiksilver        $795.00      1.8   $1,431.00
                                regarding bankruptcy considerations.

12/02/2015
   Bridenstine, Travis          Evaluate alternative tax planning for bankruptcy       $705.00      1.1    $775.50
                                emergence - can we have a better tax answer if we
                                structrue the deal differently or plan around tax
                                concerns?
12/03/2015
   Bridenstine, Travis          Discussion with J. Novarro, Quiksiver, regarding       $705.00      0.3    $211.50
                                information request.

12/04/2015
   Ecker, Scott                 Set-up website to receive returns to prepare basis     $795.00      0.6    $477.00
                                analysis for bankruptcy modeling.
12/07/2015
   Bridenstine, Travis          Request and upload required approvals to client        $705.00      0.6    $423.00
                                file to get files uploaded to website to prepare
                                basis calculations for tax modeling.

12/08/2015
   Bridenstine, Travis          Coordinate data transfer to stock basis team for       $705.00      0.4    $282.00
                                scoping - setting up a e-room to receive
                                documents to assist in gathering the data to help in
                                modeling possible tax effects of the bankruptcy on
                                the company.
   Bridenstine, Travis          Consult with K. Gerstel regarding expanded             $705.00      0.6    $423.00
                                scoping of the possible tax ramifciation of the
                                bankruptcy to the Company and possible ways to
                                plan out of tax adverse results.
   Bridenstine, Travis          Read through historic tax returns for stock basis      $705.00      0.7    $493.50
                                scoping to assist in tax planning of the bankruptcy
                                to plan for the best emergence of the company
                                from bankruptcy from a tax standpoint.
   Crane, Leah                  Pulled historical tax returns (2003-2014) for basis    $398.00      1.3    $517.40
                                analysis.
   Gerstel, Ken                 Consult with T. Bridenstine regarding expanded         $795.00      0.6    $477.00
                                scoping of the possible tax ramifciation of the
                                bankruptcy to the Company and possible ways to
                                plan out of tax adverse results.

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                                         Quiksilver, Inc.
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                            Fees Sorted by Category for the Fee Period
                              November 01, 2015 - December 31, 2015

Date                            Description                                            Rate     Hours       Fees

Bankruptcy Tax Consulting
12/09/2015
   Bridenstine, Travis          Discuss bankruptcy tax model with K. Gerstel.         $705.00      1.2    $846.00

   Bridenstine, Travis          Read second amended plan of reorganization            $705.00      1.8   $1,269.00
                                including disclosure statement to determine any
                                tax ramifications to assist in modeling the
                                emergence from bankruptcy.
   Crane, Leah                  Preform bankruptcy model analysis - data entry        $398.00      1.3    $517.40
                                for historical tax return information and affect on
                                stock basis
   Gerstel, Ken                 Discuss bankruptcy model with T. Bridenstine.         $795.00      1.2    $954.00

12/10/2015
   Bridenstine, Travis          Correspond with M. Huston, Deloitte, regarding        $705.00      0.4    $282.00
                                stock basis for scoping tax ramifications to assist
                                in modeling the emergence from bankruptcy
   Crane, Leah                  Revise bankruptcy model with calculating              $398.00      1.0    $398.00
                                (Cancellation of Debt (COD) income.

12/11/2015
   Bridenstine, Travis          Prepare Sub C scoping description including fee       $705.00      0.7    $493.50
                                estimate for tax modeling of bankruptcy.
   Bridenstine, Travis          Correspond with M. Huston regarding stock basis       $705.00      0.3    $211.50
                                scoping.
   Bridenstine, Travis          Perform scoping update for client of stock basis      $705.00      0.2    $141.00
                                tax ramifications to assist in modeling the
                                emergence from bankruptcy
   Gerstel, Ken                 Review scoping steps for basis study - determine      $795.00      0.5    $397.50
                                best way to accurately determine stock basis in
                                Companies to assist in modeling the tax
                                ramifciations of the bankruptcy to the Company.

12/14/2015
   Bridenstine, Travis          Review bankruptcy model - Cancellation-of-Debt        $705.00      2.0   $1,410.00
                                Income (COD) including tax basis balance sheets.
   Crane, Leah                  Update bankruptcy model regarding Cancellation        $398.00      4.5   $1,791.00
                                of Debt (COD) Income and tax basis balance
                                sheets.

12/15/2015
   Bridenstine, Travis          Call with J. Navarro, Quiksilver, and K. Gerstel,     $705.00      2.0   $1,410.00
                                Deloitte, to discuss next steps for plan tax
                                consequences.
   Crane, Leah                  Update bankruptcy model -Reduction in Process         $398.00      2.0    $796.00
                                (RIP) attribute reduction.
   Gerstel, Ken                 Call with J. Novarro, Quiksilver, and T.              $795.00      2.0   $1,590.00
                                Bridenstine, Deloitte, to discuss next steps for
                                plan tax consequences.



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                                                 Quiksilver, Inc.
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Date                                       Description                                              Rate      Hours                Fees

Bankruptcy Tax Consulting
12/16/2015
   Bridenstine, Travis                     Perform Initial research regarding tax                  $705.00       2.0            $1,410.00
                                           deductibility of certain bankruptcy costs to the
                                           Company.

12/17/2015
   Bridenstine, Travis                     Finalize research regarding the tax deductibility       $705.00       2.0            $1,410.00
                                           related to tax bankruptcy costs.
   Gerstel, Ken                            Perform Initial research of tax deductibility to the    $795.00       0.5             $397.50
                                           Company of particular bankruptcy costs.
   Gerstel, Ken                            Finalize research of tax deductiblity of particular     $795.00       0.5             $397.50
                                           bankrupcty costs.

12/18/2015
   Bridenstine, Travis                     Update bankruptcy model for additional                  $705.00       2.0            $1,410.00
                                           information received from J. Novarro, Quiksilver
                                           related to stock basis.
12/28/2015
   Bridenstine, Travis                     Correspond with J. Novarro, Quiksilver,                 $705.00       0.3             $211.50
                                           regarding status update of the tax bankruptcy
                                           modeling project - open items, status of
                                           bankruptcy and affects on the model

        Subtotal for Bankruptcy Tax Consulting:                                                                120.7           $75,559.00

Non-Working Travel
12/01/2015
   Bridenstine, Travis                     Transit to and from client office for client meeting    $705.00       3.5            $2,467.50
                                           related to bankruptcy - San Diego, CA to
                                           Huntington Beach, CA.

        Subtotal for Non-Working Travel:                                                                         3.5            $2,467.50

Total                                                                                                          124.2           $78,026.50




                                                              Recapitulation
           Name                                                                    Rate           Hours                Fees
           Ecker, Scott                                                           $795.00              3.2         $2,544.00

           Gerstel, Ken                                                           $795.00             25.6        $20,352.00

           Bridenstine, Travis                                                    $705.00             55.9        $39,409.50

           Crane, Leah                                                            $398.00             39.5        $15,721.00


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